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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA            :
                                    :
               Complainant          :
                                    :
              v.                    :                  Criminal Case No.
                                    :                  1:21-cr-00191 (JEB)
RYAN ZINK,                          :
                                    :
                Defendant.          :
____________________________________


 DEFENDANT RYAN ZINK’S OPPOSITION TO THE GOVERNMENT’S
                      FILING #154


      Defendant RYAN ZINK (“Zink”), through the undersigned counsel, Roger

Roots, presents this response and opposition to Document #154, the United States’

inaccurately styled “Response to Defendant’s Motion to Lift the Protective Order.”

Properly speaking, the government’s filing is a motion for reconsideration or a

motion to vacate this Court’s order. However, the government inaccurately

described the filing as a response to defendant’s motion.

      Almost every assertion in the government’s filing is exaggerated or untrue,

as described below. Zink and counsel attach exhibits to this filing illustrating the

falsity of government claims and an exhibit sheet summarizing what the
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government calls “highly sensitive.” Note that some files marked “highly

sensitive” among the discovery are blank or missing and that defense counsel

never saw or had access to them.

                                 LEGAL STANDARD

      Generally speaking, reconsideration is warranted if, for example, moving

parties “present newly discovered evidence, show that there has been an intervening

change in the law, or demonstrate that the original decision was based on a manifest

error of law or was clearly unjust.” See Bernal v. United States, 162 A.3d 128, 133

(D.C. 2017). However, “it is well-established that motions for reconsideration,

whatever their procedural basis, cannot be used as an opportunity to reargue facts

and theories upon which a court has already ruled, nor as a vehicle for presenting

theories or arguments that could have been advanced earlier.” Ali v. Carnegie

Institute of Washington, 309 F.R.D. 77, 81 (D.D.C. 2015); Estate of Gaither v.

District of Columbia, 771 F. Supp. 2d 5, 9-10 (D.D.C. 2011). “The burden is on the

moving party to show that reconsideration is appropriate and that harm or injustice

would result if reconsideration were denied.” United States ex rel. Westrick v.

Second Chance Body Armor, Inc., 893 F. Supp. 2d 258, 268 (D.D.C. 2012).

      Here the government’s initial motion (“for leave to file a response to

defendant’s motion”) failed to provide any hint of any grounds for reversing or

vacating the Court’s order. The most the government argued was that “There
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have been substantive changes in the staffing in the government’s office in

relation to these cases . . .” and that the government wants to “provide a

briefing of the issue.”

         Now, after the government’s opportunity for “briefing the issue” is long

over, the government asserts various arguments about discovery, such as

“significant national security and privacy rights for hundreds of witnesses and

victims . . .” Each of the government’s claims is false or exaggerated. The

materials contain almost no privileged or confidential information, and absolutely

no details or identifying information about informants. Much of the evidence

labeled ‘highly sensitive’ has already been released publicly and what remains is

so trivial that Zink lists summaries of it in the attached appendix.

         The government also asserts that Defendant Zink consented to the protective

orders (at the beginning of the case; four years ago, by prior counsel 1), and that his

(currently very live case) is over and closed. These claims are also untrue.

J6 defendants were FORCED to “consent” to the protective orders in order to
obtain discovery.
      As a preliminary matter, any notion that Zink waved any rights by

stipulating or consenting to the protective order (four years ago, through different

counsel) can be dispatched. Every January 6 defendant was compelled to sign onto




1
 Zink asserts that he opposed consenting and that prior counsel’s consent to the protective order was against Zink’s
wishes and partially led to Zink firing of his prior counsel.
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such protective orders in order to see the discovery in his own case.

       Defendants like Zink faced a take-it-or-leave-it ultimatum: accept the

protective order or be denied access to the government’s evidence against them. If

Zink had refused, the court would have imposed the order anyway, leaving him

unable to prepare a defense. This is not agreement; it’s coercion.

       Nothing in the Court’s order or the government’s pleading suggests mistake,

inadvertence, surprise, or excusable neglect. Nor is there any suggestion about any

newly discovered evidence or fraud, misrepresentation, or misconduct by the

opposing party. Nor does the government suggest the Court’s decision was

arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law.

      Zink has a First Amendment right to show and describe his wrongful
prosecution.


       Counsel also disagrees with the government’s assertion that defendants have

“no constitutional right to discovery.” This is true only to the extent that the word

‘discovery’ does not appear in the text of the Constitution. However, the right to

be informed of the basis of a prosecution is plainly stated in the Sixth Amendment,

and such rights are also inherent in constitutional due process under the 5th and 14th

amendments.

       Perhaps no right is more absolute under the constitutional order than the
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right of an American to proclaim and criticize wrongful action by the United States

government. Moreover, the public has a First Amendment right to observe,

monitor, know, and critique the doings of the U.S. Justice Department. There is a

need for the public to review the government’s work in this case (and these cases.)

The Government’s handling of these nearly 1,600 cases has been marred by

violations of Brady v. Maryland, 373 U.S. 83 (1963), the Jencks Act , and Jencks

v. United States, 353 U.S. 657 (1957). These are not mere U.S. Supreme Court

decisions and a statute implementing Jencks. The U.S. Supreme Court found these

requirements to be Constitutional mandates to comply with Due Process and rights

under the Sixth Amendment to the U.S. Constitution.

The government’s claims regarding “privacy rights for hundreds of witnesses
and victims” are misleading and exaggerated.
      The government paints a picture of the discovery databases being filled with

private information regarding “witnesses and victims.” But nothing in the

discovery databases is remotely more private, sensitive, confidential, or unusual

compared with thousands of other case files found publicly available in any

courthouse in America. Of course there might be phone numbers or personal

information here or there. But such information is hardly top secret or sensitive.
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      Of course, the Court is capable of carefully crafting conditions to protect

truly sensitive information. The government can easily redact any personal

information. (Undersigned counsel easily redacted a phone number from Exhibit

A of this filing, for example.) If the government would stipulate that as long as

personal contact information is redacted, the evidence is not under the protective

order, Zink will agree to such a modification.

      Yet the government seeks to bluntly shut down the entire availability of the

materials in question.

The databases contain no evidence or information which identifies any
informants.
      Contrary to the government’s claims, there is zero (0) identifying

information regarding hidden or undercover informants in the discovery databases.

In fact, J6 defendants had to beg and negotiate with prosecutors to obtain such

information during their trials. During the Proud Boy trial, for example, the

government only reluctantly admitted that there were eight (8) FBI informants

among the defendants—in exchange for an agreement by one defense attorney not
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to call a particular FBI case agent. (After trial it was learned that the true number

of undercover informants among the defendants was far higher than eight.)


False claims of “witnesses and victims” are a reason for lifting the protective
order and making the databases available to the public.


      Moreover, the government’s many false claims about “witnesses and

victims” of January 6 are a reason for granting public access to these databases.

The United States made many false claims of victimhood throughout its January 6

prosecutions;--claims which the public has a right to review, examine and expose.

For example, spokesmen for the government have repeatedly exaggerated the

number, nature and extent of police injuries stemming from January 6.

Lifting the protective order will expose government lies and exaggerations
about the numbers and extent of police injuries.

   The government has systematically exaggerated police “injuries” from January

6 in order to perpetuate its “violent insurrection” narrative. (Most such injuries

were in the nature of pain, a handful of bruises, some sprained ankles, or mild

cuts.) Metro PD’s list of 56 injured officers contained just one broken bone (a

compound fracture of a finger).
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   Approximately half of injuries reported by Metro officers were mere pain or

swelling. Most of the remaining injuries were cuts, bruises or abrasions (scrapes).




   Despite the relative mildness of these police injuries, the DOJ has routinely
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trumpeted messaging that January 6 was a violent “attack” on law enforcement.




   The public has obviously been misled and confused by the government’s

claims. And the public has a right to view the actual evidence from January 6 so

that the record of history of January 6 may be clarified.
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Specific examples of deceptiveness and inaccuracy by the DOJ.

        A few specific additional examples illustrate the government’s pattern of

falsity and exaggeration which must be exposed to the public:

    1. The government’s false claims regarding Metro Officer Michael Fanone

        merit examination by the public. Metropolitan Police Officer Michael

        Fanone testified numerous times in public venues about (varyingly)

        suffering a heart attack, suffering “traumatic brain injury,” suffering beatings

        and/or burnings and/or tazings at the hands of ‘insurrectionists’ on January

        6.2 However, Fanone’s own bodycam footage belies his (and the

        government’s) claims. Fanone’s bodycam recorded Fanone saying he was

        not hit, and was O.K. more than once (after the episode where he now claims

        he supposedly suffered heart attacks, unconsciousness and traumatic brain

        injury). Fanone also participated in giggling conversations with fellow cops

        who joked about concocting false claims that J6ers stole police service guns

        so that Fanone could frame J6ers for false crimes. See attached Exhibit A

        (Fanone Bodycam excerpt) under seal due to government’s vehement

        objections to letting this be seen by the public.

    2. The government’s false claims regarding Metro Officer Daniel Hodges




2
  https://www.cbsnews.com/news/michael-fanone-lindsey-graham-jan-6-protesters-you-guys-should-have-shot-
them-all-in-the-head/
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        are also belied by Officer Hodges’ own bodycam footage. Officer Hodges

        claimed at the sentencing 3 of Patrick Montgomery, for example, that Hodges

        never swung his baton at anyone on January 6. However Hodges’ own

        bodycam footage shows Hodges and other cops violently wading into a

        crowd of nonviolent protestors while punching, pushing, and swinging a

        police baton offensively. This footage shows J6 defendant Patrick

        Montgomery (and other brave J6ers) trying to stop the crazed, out-of-control

        Hodges, by grabbing Hodges’ baton. https://rumble.com/v6sdspd-bwc-of-

        daniel-hodges.html




    3. The government falsely smeared Trump supporter Rosanne Boyland by



3
 The government failed to present Officer Hodges at Montgomery’s trial, where Hodges’ false statements would
have been subjected to cross-examination. Instead, Hodges made a false “victim impact statement” at sentencing,
where Hodges avoided all questioning.
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      publicly saying that Boyland died from a drug overdose on January 6.

      However the bodycam footage of Metro Officer Henry Foulds (Exhibit B)

      shows that Boyland died from the violent abuse, and neglect, by Metro

      officers. See, e.g., exhibit B. Boyland’s dying screams for help can be heard

      on Officer Foulds video footage.

THE GOVERNMENT’S CLAIMS OF ‘NATIONAL SECURITY’ ARE
ALSO HIGHLY EXAGGERATED; AND THE PUBLIC HAS A RIGHT TO
EVIDENCE DEBUNKING THE GOVERNMENT’S CLAIMS.


      Similarly, the government’s claims regarding “national security” are greatly

exaggerated at best; preposterous at worst. There is nothing in the discovery

camera footage that poses any danger of exposing the United States to any danger

or harm (short of mere embarrassment). See “Building Facts “By the Numbers,”

U.S. Capitol Visitor’s Center,

https://www.visitthecapitol.gov/sites/default/files/documents/fact-

sheets/building_facts_by_the_numbers.pdf .

      Three million visitors are expected to come through the Visitor Center of the

Capitol each year. During peak season, 15,000 – 20,000 people are expected to

pass through the Capitol Visitor Center daily. Id. The U.S. Capitol Police has

estimated the high end of the number of demonstrators on Capitol Hill on January

6, 2021, as around 10,000.

      In Washington, D.C. the U.S. Capitol boasts that 3.5 million visitors from
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around the world tour the U.S. Capitol every year. See Hantman testimony, U.S.

Congress, House Committee on Appropriations, Subcommittee on Legislative,

Legislative Branch Appropriations for 2004, hearings, part 1, 108th Cong., 1st

sess., July 15, 2003 (Washington: GPO, 2003), p. 1464.

      There is literally nothing mysterious or secretive about the layout or the

locations of surveillance cameras at the U.S. Capitol. Untold millions of people have

seen the cameras. Books and Lego sets for sale at U.S. Capitol gift shops provide

excruciating details about the building. Further the public has a right to know what

happens at the U.S. Capitol.

      The only security issue one could imagine regarding camera locations is if

there are “blind spots” in the camera coverage. But, (1) knowing where cameras are

does not tell anyone where cameras are not, so no blind zones can be discerned, and

(2) the answer to blind spots is to add more cameras, not to deny the public the right

to know or deny defendants due process.

Original grounds for the Protective Order no longer exist.

      Above all the protective order should be lifted because almost everything has

changed over the past four years. The government itself has produced highly detailed

and interactive video models and simulations of each floor of the Capitol, showing

videos filmed at each location. The Government themselves have mapped every

possible detail of the Capitol and released it to the public via the many January 6th
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prosecutions. These productions have been used at trial and are available to the

public. The government has published hundreds of hours of film footage at J6 trials.

There is little or nothing sensitive about the government’s “highly sensitive”
discovery.
      In fact almost all of the discovery designated by the government as “highly

sensitive” four years ago has now been released and shown at numerous trials.

Much of the “highly sensitive” footage was nothing but footage of the Rotunda East

doorway area. As of 2025, virtually every second of such footage has been shown

to the public and used in various trials (including Zink’s trial).

         Zink’s team has made an effort to view and summarize the 60 body worn

camera videos listed in the discovery as “highly sensitive.” We provide a summary

of each exhibit (but not the exhibit) in Exhibit C.

The public wants the full truth about January 6, and has a right to know the

truth.

         Even more significant: a Newsweek poll published around the 3rd anniversary

of January 6 “revealed that more people think the full truth about the incident has

not been made public than those who do.” See Newsweek, Jan. 5, 2024, “What

Americans Really Think About Jan. 6,”

https://www.newsweek.com/what-americans-really-think-january-6-poll-donald-

trump-joe-biden-1857768 (accessed 4/9/2025) “Some 52 percent of respondents to

Newsweek's poll thought the full truth about the uprising had not been shared with
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the public, compared to 29 percent who thought it had.

                                  CONCLUSION

      In this case, the Zink filed the motion to lift the protective order on March 22,

2025. The government had fourteen days to file a response but chose not to. Now,

after the order lifting the protective order has been issued, the government responds

with the same stale, worn-out arguments it used four years ago to unnecessarily

conceal information and evidence from the public. The government’s untimely

motion should be denied.



April 21, 2025                       RESPECTFULLY SUBMITED,
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this date my law firm is filing the foregoing with the
Court by its ECF record-keeping and filing system, which automatically provides a
copy to:

                           MATTHEW M. GRAVES, Esq.
                           UNITED STATES ATTORNEY
                           FOR THE DISTRICT OF COLUMBIA
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                              ATTACHMENTS:

Exhibit A: Excerpts of Michael Fanone bodycam footage.

Exhibit B:: Excerpts of Officer Henry Folds bodycam footage.

Exhibit C: Summary of 60 “Highly Sensitive BWC”
